  8:14-cr-00288-JFB-TDT            Doc # 28   Filed: 10/09/14    Page 1 of 1 - Page ID # 78




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                       )
                                                )                  8:14CR288
                      Plaintiff,                )
                                                )
       vs.                                      )                   ORDER
                                                )
HANS SCHROEDER,                                 )
                                                )
                      Defendant.                )
       This matter is before the court on the motion for an extension of time by defendant Hans
Schroeder (Schroeder) (Filing No. 26). Schroeder seeks an additional sixty days in which to
file pretrial motions in accordance with the progression order. Schroeder has filed an affidavit
wherein he consents to the motion and acknowledges he understands the additional time may
be excludable time for the purposes of the Speedy Trial Act (Filing No. 27). Schroeder's
counsel represents that government's counsel has no objection to the motion. Upon
consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Schroeder's motion for an extension of time (Filing No. 26) is granted.
Schroeder is given until on or before December 23, 2014, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between October
9, 2014, and December 23, 2014, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendant's counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 9th day of October, 2014.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
